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 5
     Attorneys for Defendants
 6   ENGINEER.AI CORP, SD SQUARED NORTH
     AMERICA LIMITED, and SACHIN DEV DUGGAL
 7
 8                               UNITED STATES DISTRICT COURT
 9             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
11   ROBERT HOLDHEIM, an                        Case No.   2:19-cv-2187
     individual,
12                                              (Los Angeles Superior Court Case No.
                    Plaintiff,                  19STCV05103 filed on February 19, 2019)
13
             vs.
14                                              DEFENDANTS’ CORPORATE
     ENGINEER.AI CORP., a business              DISCLOSURE
15   association form unknown; SD
     SQUARED NORTH AMERICA
16   LIMITED, doing business in
     California as SD2 NORTH
17   AMERICA LIMITED, a Delaware
     corporation; SACHIN DEV
18   DUGGAL, an individual; and DOES
     1 through 50, inclusive,
19
                    Defendants.
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24          TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
25   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION, AND TO
26   PLAINTIFF AND HIS ATTORNEYS OF RECORD:
27   ///
28   ///

                                                  1
     2:19-cv-2187                  DEFENDANTS’ CORPORATE DISCLOSURE
 Case 2:19-cv-02187-PSG-RAO Document 3 Filed 03/22/19 Page 2 of 2 Page ID #:72



 1            Under Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned counsel
 2   of record for Defendants ENGINEER.AI CORP., SD SQUARED NORTH AMERICA
 3   LIMITED, and SACHIN DEV DUGGAL state that: (1) Engineer.ai Corp. does not have
 4   any parent corporations, and no publicly-held company has an ownership interest of 10
 5   percent or more in Engineer.ai Corp.; and (2) SD Squared North America Limited does
 6   not have any parent corporations, and no publicly-held company has an ownership
 7   interest of 10 percent or more in SD Squared North America Limited.
 8
 9   Dated: March 22, 2019                           JACKSON LEWIS P.C.
10
11                                           By: /s/ Jared L. Bryan
                                                 Jared L. Bryan
12                                               Jina Lee
13                                                Attorneys for Defendants
                                                  ENGINEER.AI CORP., SD SQUARED
14                                                NORTH AMERICA LIMITED, and
                                                  SACHIN DEV DUGGAL
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16   4831-4869-0574, v. 2

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                                  DEFENDANTS’ CORPORATE DISCLOSURE
